                     IN THE UNITED STATES COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

NAPCO, INC.,
              Plaintiff,
                                                 Case No.: 1:21-cv-00025
v.

LANDMARK TECHNOLOGY A, LLC,
              Defendant


                           FIRST AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 15(a)(1)(B),1 NAPCO, Inc.

("NAPCO") files this First Amended Complaint against Defendant Landmark

Technology A, LLC ("Landmark") and hereby alleges, on knowledge of its own actions

and on information and belief as to all other matters, as follows:

                                I.     INTRODUCTION

       1.     This case involves unlawful attempts by Landmark to extract and extort a

baseless and unreasonable "license fee" from NAPCO for alleged patent infringement of

United States Patent No. 7,010,508 ("the '508 Patent").

       2.     NAPCO brings this action seeking: (1) a declaration under the Declaratory

Judgment Act (28 U.S.C. § 2201) that NAPCO (or any of its affiliated companies or


1
 Because this First Amended Complaint is filed within 21 days after service of
Defendant's Partial Motion to Dismiss Plaintiff's Count II [Dkt. No. 11], and its
supporting memorandum of law [Dkt. No. 12], both filed on March 5, 2021, a motion for
leave to file this amended pleading is not required. See Fed. R. Civ. P. 15(a)(1)(B);
LR15.1.
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     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 1 of 36
websites) has not infringed and does not infringe any valid and enforceable claim of the

'508 Patent; and (2) the entry of appropriate injunctive relief and the recovery of damages

(including costs of suit and attorneys' fees) resulting from Landmark's unlawful and

abusive conduct in violation of the North Carolina Abusive Patent Assertion Act (N.C.

Gen. Stat. §§ 75-140, et seq.), and other applicable law

                                      II.   PARTIES

       3.     Plaintiff NAPCO, Inc. is a North Carolina corporation with its principal

place of business at 120 Trojan Ave, Sparta, North Carolina. NAPCO is the owner of the

website www.binders.com (the "website"). NAPCO's wholly-owned subsidiary Vulcan

Information Packaging ("Vulcan") operates the website and no NAPCO products or

services are offered on the website. Typically, Vulcan derives less than three percent

(3%) of its annual revenue from sales made on or through the website. For purposes of

this Complaint, references to the term "NAPCO" include NAPCO, Inc., its subsidiary

Vulcan, and the website.

       4.     NAPCO is, and at all times relevant to this Complaint, and was a "target" as

that term is used and defined in North Carolina's Abusive Patent Assertion Act (N.C.

Gen. Stat. §§ 75-140, et seq.) (the "APAA") in that, as set forth below, it is a North

Carolina company that (1) "received a demand [from Landmark] or is the subject of an

assertion or allegation of patent infringement" by Landmark and (2) "has been

threatened," by Landmark, "with litigation" relating to alleged patent infringement. See

N.C. Gen. Stat. § 75-142(6)(a)-(b).


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     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 2 of 36
       5.     On information and belief, Defendant Landmark is a limited liability

company organized under the laws of the State of North Carolina with its principal place

of business at 2530 Meridian Pkwy Ste 300, Durham, North Carolina.

       6.     According to annual reports filed by Landmark in 2019 and 2020 with the

North Carolina Secretary of State, Landmark's business is "Patent Licensing."

       7.     Upon information and belief, Landmark is not, and at all time relevant to

this Complaint, was not an "operating entity" as that term is used and defined in the

APAA in that, when "disregarding the selling and licensing of patents," Landmark is not

primarily engaged in (1) "[r]esearch and technical or experimental work to create, test,

qualify, modify, or validate technologies or processes for commercialization of goods and

services," (2) manufacturing, or (3) the provision of goods or commercial services. See

N.C. Gen. Stat. § 75-142(5)(a)-(c).

                         III.   JURISDICTION AND VENUE

       8.     The Court has original and exclusive subject matter jurisdiction over these

claims pursuant to 28 U.S.C. §§ 1331 and 1338(a) because this Complaint states claims

arising under an Act of Congress relating to patents, to wit, 35 U.S.C. § 271.

       9.     The Court also has original and exclusive subject matter jurisdiction over

these claims because this Complaint arises under the Federal Declaratory Judgment Act

(28 U.S.C. §§ 2201 and 2202), in that it involves an actual case or controversy due to

Landmark's affirmative act of making meritless accusations of alleged patent




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     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 3 of 36
infringement by NAPCO in connection with NAPCO's ongoing business and Landmark's

pattern of engaging in actual litigation concerning the '508 Patent.

       10.    The Court has supplemental jurisdiction over NAPCO's claim under North

Carolina's Abusive Patent Assertion Act (N.C. Gen. Stat. §§ 75-140, et seq.) pursuant to

28 U.S.C. § 1367(a) because, as set forth below, the APAA claim is so related to the

claim(s) over which the Court has original jurisdiction that the claims form part of the

same case or controversy under Article III of the United States Constitution.

       11.    Landmark and its related companies have a well-documented history of

sending demand letters accusing companies of infringing Landmark's rights regarding the

'508 Patent and related patents, offering to provide the alleged infringers a non-exclusive

license to use the patent(s) at issue for a fee and suing these companies if they do not pay

Landmark for a license to the subject patent(s).

       12.    NAPCO received such a demand letter from Landmark in October 2020. A

copy of the Landmark's October 16, 2020 demand letter (the "Demand Letter") is

attached as Exhibit A to this Complaint and is incorporated herein by this reference.

       13.    This Court has personal jurisdiction over Landmark because Landmark is

organized under the laws of the State of North Carolina and claims in filed annual reports

that its principal place of business is in the Middle District of North Carolina.

       14.    Furthermore, upon information and belief, Landmark conducts substantial

business in North Carolina, including regularly doing or soliciting business, and engaging

in other persistent courses of conduct.



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      Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 4 of 36
       15.    Upon information and belief, Landmark has purposefully and repeatedly

directed its activities at residents of North Carolina, including sending letters to numerous

other companies based in North Carolina, asserting infringement of the '508 Patent and

demanding monetary payment.

       16.    Pursuant to 28 U.S.C. §§ 1391(b), 1391(c), 1391(d), and 1400(b), venue is

proper in the Middle District of North Carolina, as Landmark's principal place of

business is listed as Durham, North Carolina and a substantial part of the events giving

rise to the claims in the Complaint occurred in this judicial district.

                           IV.    FACTUAL BACKGROUND

A.     General Background

       17.    Upon information and belief, Landmark does not make, use, sell, or offer to

sell any product or services of its own, but is solely involved in the business of patent

licensing through the threat of litigation. Thus, Landmark is an entity commonly referred

to as a "patent troll" or "non-practicing entity" ("NPE").

       18.    On information and belief, Landmark's sole business model and activity

involves sending letters accusing others of patent infringement and threatening litigation.

       19.    On information and belief, Landmark implies that it is the exclusive

licensee of the '508 Patent with the right to enforce the '508 Patent. Landmark, by its own

admission, files patent infringement lawsuits against companies that refuse to pay the

license fee sought by way of Landmark's licensing demand letters. At one point in time,

Landmark filed patent infringement actions against numerous large, nationally


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      Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 5 of 36
recognized companies. See Landmark Technology, LLC v. Zale Corp., et al., 2009 WL

3147108 (E.D. Tex. 2009) (which included as defendants: Blue Nile, Inc., Canon USA,

Inc., Eddie Bauer, Inc., Kohl's Corp., Lowe's Companies, Inc., Walgreen Co., Golfsmith

International Holdings, Inc. and Bidz.com, Inc.); Landmark Technology LLC v.

BlockBuster Inc., et al., No. 6:10-cv-00302 (E.D. Tex. 2010) (which included as

defendants: Casio America, Inc. CVS Caremark Corp. Dillard's Inc. Radioshack Corp.

The Men's Warehouse Inc. Tiffany & Co., Urban Outfitters, Inc.).

       20.    Upon information and belief, large, nationally recognized defendants have

the budget to not only defend against such frivolous actions in court, but also to file

administrative procedures to invalidate the claims of the '508 patent.

       21.    For instance, in 2012, a Request for Ex Parte Reexamination proceeding

(the "EPX") was filed seeking to invalidate all of the claims of the '508 patent. In fact,

the EPX invalidated one of the three independent claims and only allowed the remaining

two independent claims because the United States Patent and Trademark Office

("USPTO") interpreted the remaining claims in an extremely narrow manner. See EPX

File History, June 6, 2017, Notice of Intent to Issue a Rexam Certificate - Appendix.

       22.    In addition to the ex parte reexamination proceeding, eBay instituted a

Covered Business Method Review ("CBMR") at the USPTO Patent Trial and Appeal

Board ("PTAB"). Upon review of the CBMR application, the PTAB decided to institute

the CBMR and concluded its decision with:

       Because we have determined that the claims are, more likely than
       not, indefinite, we are unable to determine the scope of the claims
       of the '508 patent, and thus are unable to determine the differences

                                              6



      Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 6 of 36
      between the claimed invention and the prior art. We are therefore
      unable to consider EEI's proposed grounds of unpatentability based
      on § 103 . . . .

      For the reasons given, it is ORDERED that the Petition is granted as
      to claims 1-17 of the '508 patent, and a covered-business-method
      patent review is hereby instituted as to claims 1-17 of the '508
      patent on the alleged ground that they are unpatentable as
      indefinite under 35 U.S.C. § 112 ¶ 2.


eBay Enterprise Inc. v. Lawrence Lockwood, CBM2014-00025, Paper 24 at 24 (PTAB

May 20, 2014) (emphasis added).

      23.    Rather than defending the claims of the '508 patent against the invalidity

assertions from eBay and the PTAB, Landmark settled with eBay causing the termination

of the CBMR.

      24.    Upon information and belief, rather than risk invalidation of the other

claims in the '508 patent, in recent years Landmark has focused its patent enforcement

efforts exclusively on smaller companies who may not have the financial resources to file

invalidation actions such as CMBRs.2 See, e.g., Beauty Industry Group Opco v.

Landmark Technology A., No. 2:20-cv-00590 (D. Utah 2020); Landmark Technology A,

LLC v. Art of Beauty Company, Inc., No. 1:20-cv-01637 (N.D. Ohio 2020); Landmark

Technology A LLC v. Stoneway Electric Supply Co., No. 2:20-cv-00974 (W.D. Wash.

2020); Landmark Technology A, LLC v. Mailender, Inc., No. 1:20-cv-00479 (S.D. Ohio


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 The CMBR program ended in September of 2020 and is no longer available as an
administrative route to invalidate patents. See Transitional Program for Covered
Business Method Patents, USPTO website, https://www.uspto.gov/patents-application-
process/patent-trial-and-appeal-board/trials/transitional-program-covered-business-
method (last modified Sept. 4, 2020).
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     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 7 of 36
2020); Fink's Jewelers, Inc. v. Landmark Technology A, LLC., No. 7:20-cv-00336 (W.D.

Va. 2020); Landmark Technology A LLC v. Tom Bihn Inc., No. 2:20-cv-00328 (W.D.

Wash. 2020); Landmark Technology A, LLC v. Sterling Paper Co., No. 2:20-cv-00769

(S.D. Ohio 2020); Landmark Technology A, LLC v. Frost Electric Supply Company, No.

4:19-cv-03307 (E.D. Mo. 2020); V. Sattui Winery v. Landmark Technology A, LLC., No.

3:19-cv-05207 (N.D. Calif. 2020); Landmark Technology A, LLC v. Amerimark Direct

LLC., No. 1:19-cv-01077 (S.D. Ohio 2019); Landmark Technology A, LLC v. The Miami

Corporation, No. 1:19-cv-00653 (S.D. Ohio 2019); Landmark Technology A LLC v. The

Essential Baking Company Inc., No. 2:19-cv-01208 (W.D. Wash. 2019); Mazzio's, LLC

v. Landmark Technology A, LLC., No. 4:19-cv-00299 (N.D. Okla. 2019); Landmark

Technology A, LLC v. Woodland Foods, Ltd., No. 1:19-cv-02577 (N.D. Ill. 2019);

Landmark Technology A LLC v. Specialty Bottle Inc et al., No. 2:19-cv-00311 (W.D.

Wash. 2019); Landmark Technology A, LLC v. U.S. SafetyGear, Inc., No. 4:19-cv-00270

(N.D. Ohio 2019); Landmark Technology, LLC v. Kanan Enterprises, Inc., No. 1:18-cv-

02339 (N.D. Ohio 2018); Landmark Technology, LLC v. Thrift Books LLC et al., No.

2:18-cv-01395 (W.D. Wash. 2018); Landmark Technology, LLC v. A.M. Leonard, Inc.,

No. 3:18-cv-00306 (S.D. Ohio 2018); Landmark Technology, LLC v. Azure Farms, Inc.,

No. 3:18-cv-01568 (D. Or. 2018); Landmark Technology LLC v. Gensco, Inc., No. 3:17-

cv-015872 (W.D. Wash. 2017); Landmark Technology LLC v. Anthony-Thomas Candy

Co., No. :17-cv-00908 (S.D. Ohio 2017); Landmark Technology LLC v. Totally

Chocolate, LLC, No. 2:17-cv-01396 (W.D. Wash. 2017); Landmark Technology LLC v.

Southern Motorcycle Supply, Inc., No. 3:17-cv-01836 (S.D. Cal. 2017); World

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     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 8 of 36
Pantry.com, Inc. v. Landmark Technology LLC, 3:17-cv-04837 (N.D. Cal. 2017); Paint

Sundry Solutions, Inc. v. Landmark Technology LLC, 2:17-cv-01073 (W.D. Wash. 2017);

Landmark Technology LLC v. Jones Soda Co., No. 2:17-cv-00978 (W.D. Wash. 2017);

Landmark Technology LLC v. Launchpad, Inc., No. 3:17-cv-00892 (S.D. Cal. 2017);

Antennas Direct v. Landmark Technology LLC,4:17-cv-01399 (E.D. Mo. 2017);

Landmark Technology LLC v. GourmetGiftBaskets.com, No. 3:17-cv-00851 (S.D. Cal.

2017); Build A Sign, LLC v. Landmark Technology LLC, No. 1:17-cv-00227 (W.D. Tex.

2017); Collin Street Bakery v. Landmark Technology LLC, 3:17-cv-00256 (N.D. Tex.

2017); Fabletics, LLC v Landmark Technology LLC, No. 3:17-cv-000 (N.D. Cal. 2017);

Triad Catalog Co. L.L.C. v. Landmark Technology LLC, No. 4:16-cv-01690 (E.D. Mo.

2016); Tatcha, LLC v. Landmark Technology LLC, No. 3:17-cv-04831 (N.D. Cal 2016);

Landmark , LLC v. G. Stage Love.com Inc., No. 3:16-cv-00760 (S.D. Cal. 2016);

Landmark, LLC v. Canada Drugs L.P., No 3:16-cv-00558 (S.D. Cal. 2016); Adore Me,

Inc. v. Landmark Technology LLC, No. 1:15-cv-09800 (S.D.N.Y. 2015); LGS Yoox Corp.

v. Landmark Technology LLC, No. 1:15-cv-03893 (S.D.N.Y. 2015); Landmark

Technology, LLC v. Ace US Holdings, Inc., Ace Limited and Ace USA, Inc., No. 6:15-cv-

00437 (E.D. Tex. 2015); Landmark Technology, LLC v. Assurant, Inc., No. 6:15-cv-

00076 (E.D. Tex. 2015); Landmark Technology, LLC v. Ace Limited and Ace USA, Inc.,

No. 6:15-cv-00437 (E.D. Tex. 2015); Landmark Technology, LLC v. YOOX Corp., No.

6:15-cv-00069 (E.D. Tex. 2015); Landmark Technology, LLC v. The Michaels

Companies, Inc., No. 6:15-cv-00068 (E.D. Tex. 2015); Landmark Technology, LLC v.



                                          9



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 9 of 36
Ace INA Holdings, Inc., No. 6:15-cv-00067 (E.D. Tex. 2015); Landmark Technology,

LLC v. Zillow, Inc., No. 6:15-cv-00004 (E.D. Tex. 2015).

         25.   Upon information and belief, Landmark has filed over 70 lawsuits against

various smaller companies asserting claims based on the '508 Patent and/or its related

patents.

         26.   According to press accounts, Landmark and its predecessor and related

companies have been involved in over 250 lawsuits in which Landmark alleges patent

infringement based on the '508 Patent or the '508 Patent family. See Stroud, Jonathan,

"Patent Filings Roundup: Landmark Brings 250th Complaint . . . " (July 2, 2020)

(available at https://www.ipwatchdog.com/2020/07/02/patent-filings-roundup-landmark-

brings-250th-complaint/id=123013/ ) (last accessed 3/26/21).

         27.   Upon information and belief, none of the numerous lawsuits involving

Landmark's attempts to enforce the '508 Patent and its related patents have made it as far

as a claim construction hearing to interpret the patent claims.

         28.   The claim terms of the '508 Patent have never been construed by a district

court.

         29.   In fact, few defendants have answered the complaints filed by Landmark in

such cases. The remaining cases appear to have been resolved prior to the answer filing

deadline or soon after.

         30.   Landmark also appears to systematically settle litigation prior to any

potentially damaging rulings on the baselessness of Landmark's claims, thereby

preserving its ability to extract license fees from other small companies in the future.

                                             10



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 10 of 36
       31.    Upon information and belief, Landmark appears to offer all targets of its

demand letters the same licensing fee it offered NAPCO here - $65,000.

       32.    Upon information and belief, all Landmark demand letters appear to

employ identical, baseless infringement allegations that ignore the bulk of the claim

limitations of the '508 Patent.

       33.    Upon information and belief, Landmark quickly and confidentially settles

these suits to prevent future targets from learning of the baselessness of its claims.

       34.    District courts may award fees where "a party's unreasonable conduct—

while not necessarily independently sanctionable—is nonetheless" exceptional. Octane

Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756 (2014).

       35.    Numerous authorities have found that in circumstances similar to those

presented here – where a party's business model involves filing several patent

infringement suits and leveraging the cost of litigation to extract settlements, and with no

intention of testing the merits of its claims – are "exceptional," so as to support the award

of fees and costs under the standard articulated in Octane Fitness. See SFA Sys., LLC v.

Newegg Inc., 793 F.3d 1344, 1350 (Fed. Cir. 2015) (finding that a pattern of litigation

abuses characterized by the repeated filing of patent infringement actions for the sole

purpose of forcing settlements, with no intention of testing the merits of one's claims, is

relevant to a district court's exceptional case determination under 35 U.S.C. § 285);

Rothchild Connected Devices Innovation, LLC v. Guardian Prot. Servs., Inc., 858 F.3d

1383, 1388 (Fed. Cir. 2017) (finding reversible error in district court's failure to consider,

in its determination whether to award fees under 35 U.S.C. § 285, the patent owners'

                                              11



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 11 of 36
pattern of litigation practices and willful ignorance of invalidating circumstances);

Shipping and Transit LLC v. Hall Enterprises, Inc., No. 2:16-cv-06535, *8 (C.D. Cal.

2017) (finding that a pattern of filing serial litigation and voluntarily dismissing cases

prior to judgment on validity justified the award of attorney fees under 35 U.S.C. § 285).

B.        Landmark's Demand to NAPCO

          36.   Landmark has accused NAPCO of infringing the '508 Patent and has

demanded payment of $65,000 without providing the name and address of the patent

holder. See id.

          37.   Landmark demanded payment of $65,000 through deceptive and

misleading information regarding the importance of the '508 Patent as a "pioneer patent."

See id.

          38.   The Demand Letter does not include an element by element claim analysis,

or any other type of detailed analysis or description of the NAPCO services it alleges

infringes the '508 Patent, but simply makes general statements regarding NAPCO's web

servers.

          39.   For example, the Demand Letter states that "the specific functionalities

implemented by NAPCO using their servers and devices interfaced to NAPCO's web

servers constitutes use of the technology taught within the meaning of Claim 1 of the '508

Patent." See Ex. A (Demand Letter) at 2.

          40.   Prior to sending the demand, Landmark either (1) failed to conduct an

analysis comparing the claims as reasonably construed in the '508 Patent to NAPCO's


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     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 12 of 36
products, services, and technology, and/or (2) knew, and should have known, that the

claims as reasonably construed could not possibly cover NAPCO's products, services,

and technology.

       41.    Each of these actions by Landmark constitute bad faith assertions of patent

infringement under the APAA (N.C. Gen. Stat. §§ 75-140, et seq.), including, but not

limited to § 75-143(a)(1)-(12).

       42.    Landmark's Demand Letter concludes by offering NAPCO the option to

pay $65,000 for a non-exclusive license to Landmark's patent portfolio, including the

'508 Patent, or be sued by Landmark. See Ex. A (Demand Letter) at 1.

       43.    Landmark further notes that the license offer "will not be available in the

event of litigation" and gives NAPCO 15 days within which to respond. See id. at 2.

Nowhere in the Demand Letter does Landmark indicate that its offer is negotiable.

       44.    Upon information and belief, this tactic is a sham designed to extract

payment from letter recipients, knowing that the payment would be significantly less

expensive than defending against even a very questionable patent case in court.

C.     The '508 Patent

       45.    The '508 Patent, entitled "Automated Business and Financial Transaction

Processing System," was issued on or about March 7, 2006. The named inventor of the

'508 Patent is Lawrence B. Lockwood ("Lockwood"). A copy of the '508 Patent is

attached as Exhibit B and is incorporated herein by this reference.




                                            13



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 13 of 36
       46.    The '508 Patent originally issued with three independent patent claims

(Claims 1, 8, and 16). See Ex. B ('508 Patent), Col. 6, ln. 35 to Col. 7, ln. 30; Col. 7, lns.

47-59; Col. 8, lns. 24-55. 3

       47.    The invention relates to terminals used by banking and other financial

institutions to make their services available at all hours of the day from various remote

locations. See id., Col. 1, lns. 22-25.

       48.    In fact, as the Patent Specification states: "[t]he principal object of this

invention is to provide an economical means for screening loan applications." See id.,

Col. 1, lns. 47-48 (emphasis added).

       49.    Other objects of the invention include: "a system that ties together financial

institution data processing, the computer services of a credit reporting bureau, and a

plurality of remote terminals. Each remote terminal displays the live image of a fictitious

loan officer who helps the applicant through an interactive series of questions and

answers designed to solicit from the applicant all the information necessary to process his

loan application." See id., Col. 1, ln. 64- Col. 2, ln 4 (emphasis added).

       50.    Lockwood initially asserted the 508 Patent via an entity called Landmark

Technology LLC.

       51.    From at least 2008 to 2013, this entity – Landmark Technology LLC –

asserted the '508 Patent with U.S. Patent No. 6,289,319 (the "'319 Patent").

       52.    The '319 Patent is in the same patent family as the '508 Patent at issue here.


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 The USPTO later held that independent claim 8 and its dependent claims 9 through 15
were invalid. See Ex Parte Reexamination Certificate US7,010,508 C1, June 29, 2017.
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     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 14 of 36
       53.    Defendant here – Landmark Technology A, LLC – was formed in North

Carolina in December 2018.

       54.    This entity – Landmark Technology A, LLC – began asserting the '508

Patent in February 2019.

       55.    The original Landmark entity – Landmark Technology LLC – continues to

assert the '319 Patent.

       56.      Upon information and belief, the '508 Patent was severed from the '319

Patent (and the patent family) and Landmark Technology A, LLC was formed in an

attempt to insulate the separate entities from costs and fees awards under established

precedent.

D.     The '508 Patent's Prosecution History

       57.    The prosecution of the '508 Patent family lasted for decades. Lockwood,

the patent "Applicant," filed his first patent application in the '508 Patent family in 1984.

       58.    In 1986 he filed a continuation-in-part or "CIP" patent application which, in

essence, continued and amended his first patent application.

       59.    This CIP patent application became the basis for the '508 Patent and was

rejected by the USPTO in 1988 and subsequently abandoned.

       60.    Thereafter, between 1988 and 1993, Lockwood sequentially filed four

additional "continuation" patent applications, each having fundamentally identical patent

specifications as the 1986 filing. These applications were also rejected by the USTPO

and subsequently abandoned.


                                             15



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 15 of 36
          61.   Finally, on November 30, 1994, Lockwood filed yet another continuation

patent application, U.S. application No. 08/347,270 (the "'270 Application") which was

originally titled "Automatic Loan Processing Terminal System."

          62.   While the '270 Application was pending, Lockwood filed U.S. application

No. 08/418,772 (the "'772 Application"), which mirrored the same patent specification as

his six previous patent applications, all relating back to the 1986 CIP patent application

filing.

          63.   After eleven years of prosecution, the '772 Application was issued as the

'508 Patent.

          64.   The '772 Application originally included seven claims that were seemingly

directed to an inventory control system even though the specification was directed to a

loan application system, such as that which might be used by a bank or other financial

institution.

          65.   Lockwood added Claims 8 through 15 in a first preliminary amendment

and added Claims 16 and 17 in a second preliminary amendment.

          66.   In a first office action dated February 3, 1997, the examiner rejected all

claims under 35 U.S.C. § 112 (lack of written description) and 35 U.S.C. § 103 (an

obvious combination of known art) over Lockwood's own prior patent application.

          67.   Specifically, the examiner determined that the specification failed to

provide a detailed description of the "means" terms used in the claims.

          68.   According to the patent examiner, without the detailed description of the

means terms, the specification could only support a system or method for processing a

                                               16



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 16 of 36
loan and not (as characterized by Lockwood) to (a) an inventory exchange as claimed in

Claims 1-7, (b) an information searching system as claimed in Claims 8-15, or (c) an

automated multimedia network as per Claims 16-17. See '508 File History, July 7, 1997

amendment, p. 12.

       69.    Lockwood filed a response on July 7, 1997, which amended the claims and,

attempting to overcome the § 112 rejection, described where the "means" terms for

several of the claims' elements could be found. Notably, in doing so, Lockwood defined

and limited the scope of the claims' elements. Id. at 2-15.

       70.    With respect to the § 103 rejection, Lockwood stated that the claimed

system was fundamentally different from the earlier Lockwood patent because the system

described in the previous patent was a menu-driven system that employed a rigid, pre-

ordained sequence of menus and sub-menus. Id. at 20. As a result, Lockwood argued

that "[i]n this primitive type of interactive process, the machine need not analyze the

answer because each answer leads progressively to the next predetermined step in

accordance with the sequence imposed by the menu tree." Id. at 16. Lockwood alleged

that this difference distinguished the prior Lockwood patented system from that of the

'508 Patent application because:

       The claimed system has the ability of interpreting an answer
       before moving to the next step. An answer does not
       progressively call for a preformatted and unique type of new
       menu display as in the prior art, but opens the gate for a
       choice between different types of subsequent displays or
       actions. That choice is made by the system.

Id. at 17-18 (emphasis added).


                                             17



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 17 of 36
       71.    Lockwood also characterized the claimed invention as a "forward-chaining"

system as opposed to a "backward-chaining" system, like that disclosed in the earlier

Lockwood patent. Id. at 21-22 ("Backward-chaining is a way to emulate human

inductive reasoning or goal-directed reasoning. It starts with a selection option and works

backward to prove its accuracy. …. a backward- chaining system starts with a user

having a goal in mind to be proven"). Lockwood described forward-chaining as:

       a common term of the art designating a way to emulate human
       deductive or data-driven reasoning. The data provided by the
       user enables the search to begin at an appropriate point. Rules
       that may be available to the system but do not apply to the
       problem, are eliminated from consideration by the system.
       Forward-chaining is generally associated with knowledge bases
       that have large numbers of possible solutions, and are frequently
       used when data is the starting point for solving a problem.

Id. at 23-24 (emphasis added).

       72.    Thus, as defined by Lockwood, the basic distinction between "forward-

chaining" and "backward-chaining" is moving forward to, or backward from, a goal.

Notwithstanding this stated distinction between forward- and backward-chaining,

Lockwood clarified that Claim 16 "specifically recites the 'backward-chaining and

forward-chaining', problem solving techniques." Id. at p. 25.

       73.    On October 28, 1997, the examiner issued a final office action maintaining

the prior §§ 112 and 103 rejections. Lockwood then appealed the final rejection to the

Board of Patent Appeals and Interferences (the "Board").

       74.    During this appeal process, Lockwood amended Claims 1 through 7 so that

they were no longer directed to an inventory exchange system.


                                            18



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 18 of 36
       75.    In a non-precedential decision, the Board reversed the examiner's § 112

rejections on procedural grounds. Specifically, the Board admonished the examiner for

failing to provide "reasons why one of ordinary skill in the art would not consider the

description in the original disclosure sufficient." '508 File History, Sept. 25, 2000 BPAI

Decision, p. 4. However, the Board affirmed the examiner's rejection of Claims 1

through 15 under § 103 and reversed the examiner's § 103 rejection of Claims 16 and 17.

With respect to Claims 16 and 17, the Board stated:

       [T]hese claims specifically recited that the acceptance and
       processing of requests are done "according to backward-chaining
       and forward- chaining sequences." While these terms do not appear
       to be part of the original disclosure, and there may be a question of
       proper support, there is no rejection, on record, under the written
       description section of 35 U.S.C. § 112, regarding the now claimed
       "backward-chaining and forward-chaining sequences." ... We rely on
       appellant's explanation of these terms in Paper No. 8 and find that
       Lockwood does not disclose both "backward-chaining and forward-
       chaining sequences," as set forth in instant claim 16.

508 File History, Sept. 25, 2000, BPAI Decision, pp. 4-5 (emphasis added).

       76.    On November 28, 2000, in response to the Board's decision, Lockwood

filed an amendment modifying Claims 1 and 8 to include references to "backward-

chaining and forward-chaining sequences" (the same limitation found in allowable

Claims 16 and 17).

       77.    On April 23, 2002, the examiner issued an office action again rejecting all

remaining claims under § 112 on the ground that the "backward-chaining and forward-

chaining sequences" amendment to the claims was not supported by the original

disclosure and that the disclosure failed to provide a written description of how the


                                             19



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 19 of 36
process of accepting and processing requests was performed according to backward-

chaining and forward-chaining sequences.

       78.    Lockwood appealed the examiner's decision, and it was ultimately reversed

by the Board on August 30, 2005. In doing so, the Board noted that the examiner's prior §

112 rejection (which was reversed in the Board's decision issued on September 25, 2020)

involved enablement, while the examiner's current § 112 rejection involved lack of

written description for the "backward-chaining and forward-chaining sequences"

limitation. The Board then concluded that, even though the specification did not mention

the terms "backward-chaining" and "forward-chaining," there was nevertheless sufficient

support in the specification for those terms to meet the written description requirement.

508 File History, August 30, 2005, BPAI Decision, pp. 5, 15.

       79.    Upon the Board's decision, all claims were allowed and the '508 Patent was

issued on March 7, 2006.

       80.    On September 15, 2012, a Request for Ex Parte Reexamination ("EPX")

was filed (Control No. 90/012,671). On July 31, 2013, the examiner issued a final office

action rejecting Claims 8 through 15, confirming Claims 1 through 7, 16 and 17, and

rejecting Claims 18 through 25 (which had been added during the Reexamination

process). Lockwood sought to amend the rejected Claim 8, but the examiner twice

refused to enter the proposed amendments. During the appeal process, Lockwood

cancelled the new Claims 18 through 25 to eliminate issues related to those claims from

the appeal. See EPX File History, Dec. 30, 2013, Applicant Remarks, p. 7.



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     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 20 of 36
       81.    After the Board upheld the examiner's rejection of Claims 8 through 15,

Lockwood appealed to the Federal Circuit. In a non-precedential decision, the Federal

Circuit upheld the Board's decision and ruled that Claims 8 through 15 were invalid. In

re Lockwood, 679 F. App'x 1021, 1028 (Fed. Cir. 2017).

       82.    On June 6, 2017, the examiner issued a "Notice of Intent to Issue Ex Parte

Reexamination Certificate," canceling Claims 8 through 15. As part of this document,

the examiner issued a statement of reasons for patentability and/or confirmation of claims

found patentable, and explained that "the reasons for confirmation are set forth in the

Office Action of 7/13/2013, pages 122-142, which pages are attached as Appendix to this

NIRC." See EPX File History, June 6, 2017, Notice of Intent to Issue Ex Parte

Reexamination Certificate, p. 2.

       83.    The Appendix to the NIRC is a twenty-page document specifically

discussing the USPTO's interpretation of Claims 1 and 16. Regarding "Forward

Chaining," the USPTO said:

       'forward- chaining' sequences, as employed by the instant invention,
       designate a way to emulate human deductive or data-driven
       reasoning and is generally associated with knowledge bases that
       have large numbers of possible solutions, and are frequently used
       when data is the starting point for solving a problem [see, pages 22-
       24 of Paper No. 8]. Appellant also submits dictionary meanings for
       these terms from the IBM Dictionary. We rely on appellant's
       explanation of these terms in Paper No. 8 and find that Lockwood
       does not disclose both 'backward-chaining and forward-chaining
       sequences,' as set forth in instant claim 16.
                                    *      *       *
       It appears to us, after reviewing the specification, especially, page
       11, lines 13-21, thereof, that the specification does describe a data-
       driven control since the first analysis determines the identity of any
       element or data that automatically disqualify an applicant ( Footnote

                                            21



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 21 of 36
      3: This portion of the analysis maybe said to be 'goal-driven' (the
      process of qualifying or disqualifying an applicant), or 'backward-
      chaining.') and then, depending on the result of that analysis, more
      questions may be presented in order to refine the data necessary for a
      thorough assessment of an applicant's qualifications. This is also
      clearly an iterative procedure for solving a problem until a
      conclusion is reached or no further inferences can be made.
      Therefore, we determine that applicant did, indeed, have possession
      of processing 'according to backward-chaining and forward-chaining
      sequences,' as claimed.")

EPX File History, June 6, 2017, Notice of Intent to Issue Ex Parte Reexamination

Certificate - Appendix, p. 125-7 (emphasis added).

      84.    Regarding Claim 1, the USPTO stated:

      Therefore, in light of MPEP 2258, MPEP 2181, II, and 2183 and the
      guidelines regarding the court's interpretation of claims supra, the
      "means-plus-function" limitation "means for processing said
      operator-entered information, inquiries, and orders according to
      backward- chaining and forward-chaining sequences" is now
      interpreted to require the function corresponding thereto be the
      ability to automatically process/analyze onsite information requested
      of or by an operator and orders for transactions (i.e. order for a
      decision, in its entirety, or performance of a task processed from
      information acquired from a customer), entered by said operator via
      said means for entering information according to backward-chaining
      (goal-driven) and forward-chaining (data-driven) sequences and the
      structure meant thereby to be a data processor (Fig. 2, element 113)
      of a self-service station/terminal (Figs. 1-2, element 105), as
      compared to a computerized installation (Fig. 1, elements 101/104)
      in communication therewith, which data processor is
      programmed/software implemented to automatically process/analyze
      onsite information requested of or by an operator, and orders for
      transactions (i.e. order for a decision, in its entirety, or performance
      of a task processed from information acquired from a customer),
      entered by said operator via said means for entering information (Fig.
      2, elements 119, 122) according to backward-chaining (goal-driven)
      and forward-chaining (data-driven) sequences, and equivalents
      thereof.



                                            22



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 22 of 36
EPX File History, June 6, 2017, Notice of Intent to Issue Ex Parte Reexamination

Certificate - Appendix, pp. 135-136 (emphasis added).

      85.    Regarding Claim 16, the USPTO stated:

      Therefore, in light of MPEP 2258, MPEP 2181, II, and 2183 and the
      guidelines regarding the court's interpretation of claims supra, the
      "means-plus-function" limitation "means for accepting and processing
      said requests according to backward-chaining and forward-chaining
      sequences" of each station is now interpreted to require the function
      corresponding thereto be that of the ability to accept and
      automatically process/analyze onsite user entered, via access means,
      coded requests, i.e. user identifying access code accompanied requests
      for user associated information/data, according to backward-chaining
      (goal-driven) and forward-chaining (data- driven) sequences and the
      structure meant thereby to be a data processor (Fig. 2, element 13)
      and memory/OMA (Figure 2, elements 116, 117) of a self-service
      station/terminal (Figs. 1-2, element 105), which memory/OMA
      accepts and which data processor is programmed/software
      implemented to process/analyze entirely onsite such coded requests
      entered on touch pad or magnetic strip reader (Figure 2, elements 119,
      122) according to backward-chaining (goal- driven) and forward-
      chaining (data-driven) sequences, and equivalents thereof.

EPX File History, June 6, 2017, Notice of Intent to Issue Ex Parte Reexamination

Certificate - Appendix, pp. 131-132 (emphasis added).

E.    The '508 Patent's Remaining Two Independent Claims

      86.    Claim 1 of the '508 Patent reads as follows:

             1. An automated multimedia system for data processing which comprises:
             a computerized installation including
                    a database, means for entering data into said database, and
                    a program means for storing, processing, updating, and retrieving
                    data items in response to coded requests from stations in
                    communication with said installation;


                                           23



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 23 of 36
              at least one station including a general purpose computer and a
              program applicable to said computer for sending said requests to
              said installation;
              means for communicating data back and forth between said
              installation and said station;
       said station further including:
              a mass memory and means associated therewith for storing and
              retrieving textual and graphical data;
              a video display and means associated therewith for displaying
              textual and graphical data;
              means for entering information into said computer;
              means for programming sequences of inquiring messages on said
              video display in accordance with preset routines and in response to
              said information;
                     said sequences including instructions to an operator of said
                     station for operating said station; and
              means for selectively and interactively presenting to said operator
              interrelated textual and graphical data describing a plurality of
              transaction options, and for selectively retrieving data from said
              mass memory;
              means for storing information, inquiries, and orders for transactions
              entered by said operator via said means for entering information;
              means for transmitting said inquiries and orders to said installation
              via said means for communicating;
              means for receiving data comprising operator-selected information
              and orders from said installation via said means for communicating;
              and
              means for interactively directing the operation of said computer,
              video display, data receiving and transmitting means, and
              mass memory comprising means for holding an operational
              sequencing list,




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Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 24 of 36
                    means for processing said operator-entered information, inquiries,
                    and orders according to backward-chaining and forward-chaining
                    sequences, and
                    means responsive to the status of said computer, display, mass
                    memory, and data receiving and transmitting means for controlling
                    their operation;
                    said means for processing including means for analyzing said
                    operator-entered information and
                    means, responsive to said means for analyzing, for presenting
                    additional inquiries in response to said operator-entered information;
             said computerized installation further including:
                    means responsive to items received from said station for
                    immediately transmitting selected data retrieved from said database
                    to said station;
                    means responsive to an order received from said station for updating
                    data in said database including means for correlating to a particular
                    set of data received from said station;
                    whereby said system can be used by a plurality of entities, each
                    using one of said stations, to exchange data, and to respond to
                    inquiries and orders instantaneously or over a period of time.
'508 Patent, Claim 1 (structure and emphasis added).

      87.    Claim 16 of the '508 Patent reads as follows:

             16.    An automated multimedia data processing system which comprises:
             at least two computerized stations, each including:
                    at least one access means;
                    a mass memory and a database stored in said mass memory;
                    means for storing, processing, updating, and retrieving data;
                    program means for controlling said storing, processing, updating,
                    and retrieving data means in response to coded requests entered on
                    said access means;


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     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 25 of 36
                     means, associated with said mass memory, for storing and retrieving
                     textual and graphical data;
                     means for processing interrelated textual and graphical data
                     describing a plurality of transaction options, and
                     for selectively retrieving data from said mass memory; interrelated
                     textual and graphical data stored in said mass memory, and
                     accessible through interrelated textual and graphical access path
                     means;
                     means for accepting and processing said requests according to
                     backward-chaining and forward-chaining sequences;
                     means responsive to said coded requests for automatically displaying
                     selected data;
                     means for interactively directing the operation of said various
                     means,
                     and of said mass memory, said means for directing comprising
                     means for holding an operational sequencing list and means
                     responsive to the status of said mass memory, and said various
                     means, for controlling their operations.
'508 Patent, Claim 1 (structure and emphasis added).

       88.    Accordingly, to infringe the claims of the '508 Patent, assuming they are

valid (which NAPCO does not concede), NAPCO would have to use a system which

includes all of the above elements of either Claim 1 or 16.

       89.    Specifically, in addition to the other numerous claim elements, an

infringing system would have to use a workstation (i.e., a remote device) having "means

for processing said operator-entered information, inquiries, and orders according to

backward-chaining and forward-chaining sequences" from Claim 1 and/or a means for

accepting and processing said requests according to backward-chaining and forward-

chaining sequences" from Claim 16.

                                            26



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 26 of 36
      90.    Accordingly, an infringing party must utilize forward-chaining (as defined

above) which is much more than a predetermined menu tree system website.

      91.    Furthermore, this sophisticated forward-chaining process must be

performed on the customer's devices (such as client computers) as opposed to the servers

hosting the website.

F.    NAPCO's Websites Do Not Infringe the Claims of the '508 Patent

      92.    NAPCO has not infringed Claim 1 or Claim 16, or any other valid claim of

the '508 Patent, because NAPCO's services and websites do not practice every limitation

of Claim 1 or Claim 16.

      93.    For example, NAPCO's services and websites do not utilize, inter alia,

"backward-chaining and forward-chaining sequences" as required by the only two

independent claims of the '508 Patent.

      94.    Upon information and belief, Landmark failed to undergo a reasonable

infringement analysis prior to sending its Demand Letter.

      95.    As noted previously, the Demand Letter does not include an element-by-

element description, or any other type of analysis of NAPCO's products, services, or

technology that Landmark alleges infringe the claims of the '508 Patent. Instead, it

merely includes two links for the website, https://binders.com and

https://binders.com/my-account.




                                            27



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 27 of 36
       96.    The Demand Letter fails to include any factual allegations concerning the

specific areas or ways in which the website (www.binders.com) infringes the '508 Patent

or is covered by any specific claims in the '508 Patent.

       97.    Indeed, upon information and belief, Landmark did not perform any

reasonable due diligence of NAPCO's systems or services prior to demanding payment

from NAPCO in the amount of $65,000 and threatening NAPCO with legal action.

       98.    For a customer to access the website at issue in this case –

www.binders.com – the customer must employ an internet browser software (such as

Explorer, Firefox, or Safari) to "visit" the website by typing a URL (e.g.,

www.binders.com) into a text box of the browser.

       99.    This customer action causes the customer's internet browser to send a

request to the third-party's web server which hosts the website via standard internet

connection. In response to the request from the customer's browser, a third-party web

server causes the simple menu driven website to be displayed onto the customer's device.

The customer then interacts with the rigid, pre-ordained menus displayed on the

customer's devices on order to select and order products. The website is "static" in that it

makes use of rigid menu-like interfaces, ensuring that every user's experience is the same.

       100.   The website is hosted by a third party's web server farm. NAPCO does not

own, operate, or host its own web servers or web server farm. Nor does NAPCO own,

operate, or control the computers or mobile devices its customers use to access the

website.



                                             28



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 28 of 36
       101.   Moreover, such computers and mobile devices, which the '508 Patent

would call terminals, do not utilize any dynamic and sophisticated "backward-chaining

and forward-chaining" analysis when interacting with NAPCO's websites. In fact, no

NAPCO server, computer, or device uses "backward-chaining" or "forward-chaining"

technology in any way to display or host the website.

       102.   Landmark alleges the NAPCO's servers constitute an infringing use of

Claim 1 of the '508 Patent when customers use devices (i.e., terminals) to interact with

NAPCO's web servers.

       103.   NAPCO does not infringe any valid and enforceable claim of the '508

Patent for reasons including, but not limited to, the fact that the terminals (i.e., customer

devices) accessing NAPCO's websites are not owned or used by NAPCO.

       104.   Moreover, even if such terminals were owned or used by NAPCO, such

terminals do not utilize any "backward-chaining and forward-chaining" technology in

accessing the website, which is required by even a cursory construction of Claims 1 and

16 of the '508 Patent; and no server, computer or device associated with NAPCO uses

"backward-chaining and forward-chaining" technology at all, which is required by

Claims 1 and 16 of the '508 Patent.

       105.   Landmark's assertion of patent infringement against NAPCO is objectively

baseless and made in bad faith.

       106.   Neither Landmark nor any reasonable litigant could realistically expect

success on the merits of an infringement claim against NAPCO based on the '508 Patent.



                                              29



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 29 of 36
       107.   Indeed, any reasonable investigation of the website, including by

purchasing a single product through the website, would have revealed that it does not

infringe any valid claim of the '508 Patent as alleged by Landmark in the Demand Letter.

       108.   Accordingly, Landmark knew of willfully disregarded, the falsity of its

assertion that the website infringed the '508 Patent as alleged in the Demand Letter.

       109.   Such knowledge of falsity, or disregard therefore, establishes that the

infringement assertion was made in subjective bad faith under federal law.

                                         Count I
                             Declaration of Non-Infringement
                                    (28 U.S.C. § 2201)
       110.   NAPCO restates and incorporates by reference the allegations in paragraphs

1 through 109 of this First Amended Complaint as if fully set forth herein.

       111.   NAPCO has not infringed and does not infringe any valid and enforceable

claim of the '508 Patent, whether literally or under the doctrine of equivalents.

       112.   Additionally, NAPCO is not liable for any induced, contributory, divided,

or other indirect infringement of any valid enforceable claim of the '508 Patent. Neither

NAPCO, its customers who access its website, nor anyone associated with NAPCO,

utilize all of the elements of the claims of the '508 Patent.

       113.   There exists a substantial, real and immediate controversy between NAPCO

and Landmark concerning NAPCO's alleged infringement of the '508 Patent, which

NAPCO denies, and this controversy warrants the issuance of a declaratory judgment of

non-infringement.



                                              30



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 30 of 36
          114.   The controversy arises from a Demand Letter in which Landmark claims

NAPCO infringes, at the least, Claim 1 of the '508 Patent and provides NAPCO an option

to pay for a license to Landmark's patent portfolio, including the '508 Patent within 15

days of its post-marked date, or to face potential litigation.

          115.   Landmark's Demand Letter alone, and in combination with Landmark's

widespread campaign of filing patent infringement lawsuits against licensing targets that

refuse to pay the license fee Landmark demands, clearly demonstrate Landmark's intent

to erroneously to enforce the '508 Patent against NAPCO.

          116.   Thus, a judicial declaration is necessary and appropriate so that NAPCO

may ascertain its rights regarding the '508 Patent.

          117.   NAPCO therefore seeks a judicial declaration that NAPCO does not

directly, indirectly, or otherwise infringe any valid and enforceable claim of the '508

Patent.

                                          Count II
                                  Declaration of Invalidity
                                     (28 U.S.C. § 2201)
          118.   NAPCO restates and incorporates by reference the allegations in paragraphs

1 through 117 of this First Amended Complaint as if fully set forth herein

          119.   There exists a substantial, real and immediate controversy between NAPCO

and Landmark concerning NAPCO's alleged infringement of the '508 Patent, which

NAPCO denies, and this controversy warrants the issuance of a declaratory judgment of

invalidity of the '508 Patent.



                                              31



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 31 of 36
       120.   Claims 1-17 the '508 Patent are invalid for failure to meet the conditions of

patentability set forth in 35 U.S.C. § 1, et seq., including §§101, 102, 103, and/or 112.

For example, if the claims of the '508 Patent are construed in such a way as to encompass

NAPCO's website, systems or services, either literally or under the doctrine of

equivalents, then those claims lack enablement, lack written description, and are

indefinite under 35 U.S.C. §112.

       121.   NAPCO is entitled to a declaration that the '508 Patent is invalid.

                                       Count III
              Violation of North Carolina Abusive Patent Assertion Act
                           (N.C. Gen. Stat. §§ 75-140, et seq.)
       122.   NAPCO restates and incorporates by reference the allegations in paragraphs

1 through 121 of this First Amended Complaint as if fully set forth herein.

       123.   Landmark's assertion of NAPCO's patent infringement in the Demand

Letter is abusive and made in bad faith. The Demand Letter fails to include information

necessary to evaluate the infringement claim such as factual allegations concerning the

specific areas in which NAPCO's products, services, and technology infringe the '508

Patent or are covered by specific, identified claims in the '508 Patent. See N.C. Gen. Stat.

§ 75-143(a)(1).

       124.   Upon information and belief, prior to sending the Demand Letter,

Landmark Failed to conduct an analysis comparing the claims in the '508 Patent to

NAPCO's products, services, and technology, or, if the analysis was done, the Demand

Letter fails to identify the specific areas in which the products, services, and technology

of NAPCO are covered by the claims in '508 Patent. See id. § 75-143(a)(2).

                                             32



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 32 of 36
       125.   The Demand Letter includes a demand for payment of the $65,000 license

fee and a response in an unreasonably short period of time – 15 days of the date of the

Demand Letter. See id. § 75-143(a)(4).

       126.   The license fee is based, upon information and belief, not on a reasonable

estimate of the value of the license, but instead on the cost of defending a potential or

actual lawsuit. See id. § 75-143(a)(5).

       127.   The claim and assertion of patent infringement as set forth in the Demand

Letter is objectively meritless and Land knew or should have known that the assertion

was meritless. See id. § 75-143(a)(6).

       128.   The Demand Letter is deceptive in that it fails to disclose the true nature

and history of the '508 Patent, describes the patent as a "pioneer patent," and intentionally

employs a nonsensical and unnecessarily dense and vague and ambiguous description of

the alleged infringement. See id. § 75-143(a)(7).

       129.   Upon information and belief, and has evidenced by the sampling of cases

set forth above, Landmark and its related and affiliated entities or principals have made

and continue to make the same demand or substantially same demand to multiple

recipients and have made assertions against a wide variety of products and systems

without reflecting those differences in a reasonable manner in those demands. See id.

§ 75-143(a)(9).

       130.   As a result of and in reliance on Landmark's objectively baseless and

subjectively bad faith and abusive assertion of NAPCO's infringement of the '508 Patent,

NAPCO has suffered damages and incurred costs, fees (including attorneys' fees), and

                                             33



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 33 of 36
other harm, all of which are recoverable under the North Carolina Abusive Patent

Assertion Act. See id. §§ 75-145(b)(1)-(3).

       131.   As a result of and in reliance on Landmark's bad faith infringement claim,

NAPCO was forced to divert resources from operating its business to address Landmark's

claim, including by spending numerous hours research and reviewing the allegations,

engaging and corresponding with attorneys, and investigating Landmark's claim, to the

extent possible, based on the purposefully vague, ambiguous, and unintelligible language

of the Demand Letter, to evaluate from a technical and architecture level the website in

light of those claims, and defend against Landmark's objectively baseless and

subjectively bad faith and abusive assertion of NAPCO's infringement of the '508 Patent.

       132.   NAPCO, therefore, seeks (a) equitable relief enjoining Landmark from

asserting the '508 Patent against NAPCO and (b) recovery of its damages, costs, and fees,

in an amount to proven at trial, together with an award of exemplary damages in an

amount equal to $50,000 or three (3) times the total of damages, costs, and fees,

whichever is greater. See id. §§ 75-145(b)(1)-(4).



WHEREFORE, NAPCO respectfully requests the following relief:
       A.     A declaration that claims 1-17 of the '508 Patent are invalid;

       B.     A declaration that NAPCO has not infringed and does not infringe, directly
              or indirectly, any valid and enforceable claim of the '508 Patent, whether
              literally or under the doctrine of equivalents;

       C.     An order declaring that this is an exceptional case and awarding NAPCO its
              costs, expenses, disbursements, and reasonable attorney's fees under 35
              U.S.C. § 285 and 28 U.S.C. § 1927;

                                              34



     Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 34 of 36
      D.    An order declaring Landmark's conduct as unlawful, unfair, and deceptive
            trade practices;

      E.    An order awarding NAPCO all damages, costs, expenses, and fees
            (including reasonable attorneys' fees) incurred by NAPCO as a result of,
            and caused by, Landmark's unlawful acts, including equitable relief to estop
            and prohibit Landmark from asserting the '508 Patent against NAPCO and
            exemplary damages as contemplated by the North Carolina Abusive Patent
            Assertion Act, together with all pre- and post-judgment interest, as
            provided by law; and

      F.    All such other and further relief, both at law and in equity, which this Court
            deems just and proper.


Dated: March 26, 2021.
                                 /s/ Kelly A Cameron.
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                                          35



    Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 35 of 36
                           CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on March 26, 2021, the foregoing was filed

and served via CM/ECF to all counsel of record.



                                               /s/ Kelly A. Cameron
                                               Kelly A. Cameron




                                          36



    Case 1:21-cv-00025-TDS-LPA Document 15 Filed 03/26/21 Page 36 of 36
